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                               UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF OHIO
                                     EASTERN DIVISION

    IN RE: NATIONAL PRESCRIPTION                       )    MDL 2804
    OPIATE LITIGATION                                  )
                                                       )    Case No. 1:17-md-2804
    THIS DOCUMENT RELATES TO:                          )
                                                       )    Judge Dan Aaron Polster
    Track One Cases                                    )
                                                       )    OPINION AND ORDER
                                                       )
                                                       )

         Before the Court is the Motion of Plaintiffs Cuyahoga and Summit Counties for Partial

Summary Adjudication of their Equitable Claims for Abatement of an Absolute Public Nuisance

(Doc. #: 1890). Upon careful consideration of the parties’ respective arguments1 and for the

reasons stated below, the motion is DENIED.

                                                * * * * *

         Plaintiffs move for an order ruling as a matter of law that: (i) the opioid crisis constitutes a

public nuisance, an essential element of their claim of absolute public nuisance; and (ii) upon a

finding of nuisance liability, Defendants will be jointly and severally responsible for the equitable

abatement of the alleged public nuisance, and may not rely on their affirmative defenses to the

contrary.




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  Motion of Plaintiffs Cuyahoga and Summit Counties for Partial Summary Adjudication of their Equitable Claims
for Abatement of An Absolute Public Nuisance (Doc. #: 1890); Defendants’ Memorandum in Opposition to Track
One Plaintiffs’ Motion for Partial Summary Adjudication of their Equitable Claims for Abatement of an Absolute
Public Nuisance (Doc. #: 2163); Pharmacy Defendants” Response to Plaintiffs’ Partial Motion for Summary Judgment
on Abatement of an Absolute Public Nuisance (Doc. #: 2304); and Reply in Support of Motion of Plaintiffs Cuyahoga
and Summit Counties for Partial Summary Adjudication of their Equitable Claims for Abatement of an Absolute
Public Nuisance (Doc. #: 2540).
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I.       The Existence of a Public Nuisance.

         Plaintiffs assert the “opioid epidemic constitutes an ongoing public nuisance under Ohio

law” and that no reasonable fact-finder could determine otherwise. They ask the Court to award

partial summary judgment declaring that the opioid crisis significantly interferes with public health

and therefore establishes the existence of a nuisance.2 (Doc. #: 1890 at 2-4, 22).

         Under Ohio law, “it is the province of the court to define a nuisance and the province of

the [finder of fact] to determine whether the circumstances of the particular case come within the

definition of a nuisance.” City of Hamilton v. Dilley, 165 N.E. 713, 714 (Ohio 1929); City of

Toledo v. Gorney, 1988 WL 128304, at *3 (Ohio Ct. App. Dec. 2, 1988) (same). Ohio follows the

Restatement of the Law (Second) Torts, which broadly defines public nuisance as “an

unreasonable interference with a right common to the general public.” Cincinnati v. Beretta

U.S.A., 768 N.E.2d 1136, 1142 (Ohio 2002) (quoting Restatement § 821B(1)). The Ohio Supreme

Court has explained:

                  “Unreasonable interference” includes those acts that significantly
                  interfere with public health, safety, peace, comfort, or convenience,
                  conduct that is contrary to a statute, ordinance, or regulation, or
                  conduct that is of a continuing nature or one which has produced a
                  permanent or long-lasting effect upon the public right, an effect of
                  which the actor is aware or should be aware. Id., Section 821B(2).

Id. (emphasis added). To prove an absolute public nuisance cause of action, evidence must

establish: (1) intentional or unlawful conduct or omission by the defendant; (2) that unreasonably

interferes with a right common to the general public; and (3) a causal relationship between a




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  Plaintiffs explain that, while their motion is confined to the issue of significant interference with public health, they
expressly reserve the right to assert at trial other potential bases for public nuisance, e.g. conduct that interferes with
public safety, peace, and comfort, unlawful conduct, or conduct of a continuing nature or that produces a permanent
or long lasting effect that defendants knew or should have known significantly affected a public right. (Doc. #: 1890
at n.1).

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defendant’s conduct and a plaintiff’s injury. See, e.g., id. at 1141- 1144; City of Cleveland v. JP

Morgan Chase Bank, N.A., 2013 WL 1183332, at *3 -*4 (Ohio Ct. App. March 21, 2013).

         To support their position, Plaintiffs cite statistics and testimony pertaining to the types and

extent of harm attributable to opioid-related problems in each of the Counties (Doc. 1890 at 4-14

and referenced exhibits). Plaintiffs contend that statements by certain Defendants acknowledging

the existence of an “opioid epidemic” and “public health crisis,” demonstrate the absence of any

dispute as to whether the burden to prove the existence of a nuisance is satisfied. (Id. at 14-22 and

referenced exhibits).

         Responding, Defendants maintain the existence of an opioid crisis in and of itself does not

constitute a public nuisance because the analysis must also consider the conduct allegedly creating

the nuisance. Specifically, they assert that “the existence of an ‘unreasonable interference’

requires an assessment of the effect of the alleged wrongful conduct;” therefore, the first and

second elements of the claim should be determined together. (Doc. #: 2163 at 4-5; Doc. #: 2304

at 2).3 Plaintiffs reply that “a nuisance is a harmful condition – not a defendant’s conduct.” (Doc.

#: 2540 at 2).

         Plaintiffs fail to persuade the Court that separate adjudication of the closely connected harm

and conduct elements is either useful or advisable. The interrelated nature of these elements is

evident in the Restatement’s use of the phrase “unreasonable interference” to define both

cognizable harm and actionable conduct. See Restatement § 821B(1)-(2); Cincinnati v. Beretta,

768 N.E.2d at 1142. The Court finds the two elements to be intertwined and not independently



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   As additional grounds for denying Plaintiffs’ motion, Defendants argue that the opioid crisis implicates private
individual rights and not a public right to public health. (See Doc. #: 2163 at 1-2). This argument ignores the
Restatement’s express inclusion of “significant interference with the public health” as one of the “(c)ircumstances that
may sustain a holding that an interference with a public right is unreasonable.” Restatement 821B(2)(a); see also
Opinion and Order (Blackfeet Tribe and Muscogee (Creek) Nation) (Doc. #: 1680 at 18-19) adopting Report and
Recommendation (Doc #: 1499 at 60-61, Doc. #: 1500 at 28-30).

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determinable as a matter of law in these actions. Whether the opioid crisis constitutes a public

nuisance is a question that must await full airing of the facts at trial.

        Accordingly, Plaintiffs motion is denied to the extent it seeks summary adjudication of the

existence of a public nuisance.



II.     Joint and Several Liability.

        Plaintiffs move to strike Defendants’ affirmative defenses that assert they are not jointly

and severally liable for abatement of the alleged public nuisance. Plaintiffs ask the Court to rule

now that any Defendant found responsible for creating or maintaining the public nuisance will be

held jointly and severally liable for its abatement. Plaintiffs contend this ruling regarding liability

for the equitable relief they seek is not barred by Ohio’s apportionment statute and is available

under Ohio common law. (Doc. #: 1890 at 22-26; Doc. #: 2540 at 6-10).

        A.      Ohio Statutory Law.

        Plaintiffs assert that joint and several liability for their public nuisance claims is not barred

by the Ohio apportionment statute, which provides,

                In a tort action . . . in which the trier of fact determines that more
                than fifty percent of the tortious conduct is attributable to one
                defendant, that defendant shall be jointly and severally liable in tort
                for all compensatory damages that represent economic loss.

                If division (A)(1) of this section is applicable, each defendant . . . to
                whom fifty percent or less of the tortious conduct is attributable shall
                be liable to the plaintiff only for that defendant’s proportionate share
                of the compensatory damages that represent economic loss.


Ohio Rev. Code (“O.R.C.”) § 2307.22(a)(1)-(2). Plaintiffs argue the statute by its terms applies

only to tort claims seeking “compensatory damages that represent economic loss,” and is therefore

inapplicable to their equitable abatement claims. (Doc. #: 1890 at 24-25).

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         Defendants respond that the statute does bar joint and several liability. Defendants note

that nuisance actions are tort claims. (Doc. 2163 at 9-10). However, the fact that “nuisance” is

sometimes characterized as a variety of “tort” does not change the fact that an equitable claim to

abate a nuisance is not a tort claim seeking compensatory damages. Defendants also argue that

what Plaintiffs’ label as a claim for “abatement costs” is in fact a “claim for damages.” (See Doc.

#: 2540 at 8-9). This point is not well-taken for the reasons explained in the Court’s recent Order

denying Defendants’ motion to exclude Plaintiffs’ abatement experts.4 Unlike tort damages that

compensate an injured party for past harm, abatement is equitable in nature and provides a

prospective remedy that compensates a plaintiff for the costs of rectifying the nuisance.

         Nor does Ohio’s statutory definition of “economic loss” bar a judgment of joint and several

liability for abating a nuisance.5 The statutory definition encompasses compensation for future

medical and rehabilitation expenses of an injured person who is the subject of a tort. (Doc. #: 2163

at 9-12; Doc. #: 2304 at 4-6). Defendants note that certain components of the abatement relief

Plaintiffs seek relate to medical care and argue that, therefore, it is really “economic loss.” (Doc.

#: 2163 at 11). But the fact that abatement relief may encompass medical care does not alter the

fact that the only recovery limited by the apportionment statute is “compensatory damages,” and

that is not what Plaintiffs are seeking.




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  See Order dated August 26, 2019 denying Defendants’ Motion to Exclude Expert Testimony Purporting to Relate to
Abatement Costs and Effects. (Doc. #: 2519 at 2-3). See also Hamilton v. Ebbing, 2012 WL 1825268, at *4 (Ohio
Ct. App. May 12, 2012) (“Both the United States Supreme Court and the Supreme Court of Ohio have found that an
abatement action is not a common law action, but rather a suit in equity.” (citing Cameron v. United States, 148 U.S.
301, 304 (1893) and State ex rel. Miller v. Anthony, 647 N.E.2d 1368 (Ohio 1995)); Veda, Inc. v. U.S. Dep't of the Air
Force, 111 F.3d 37, 40 (6th Cir. 1997) (“The fact that a judicial remedy may require one party to pay money to another
is not sufficient reason to characterize the relief as ‘money damages.”).
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  The statute defines “economic loss” to include “[a]ll expenditures for medical care or treatment, rehabilitation
services, or other care, treatment, services, products, or accommodations incurred as a result of an injury, death, or
loss” including “expenditures for those purposes that, in the determination of the trier of fact, will be incurred in the
future because of the injury, whether paid by the injured person or by another person on behalf of the injured person.”
Ohio Rev. Code Ann. § 2307.011(C)(2).

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        Accordingly, the Court finds that O.R.C. § 2703.22 does not bar joint and several liability

for abatement of a nuisance. Put differently, there is nothing in this statute that precludes

application of the doctrine of joint and several liablity on Defendants. As discussed below,

however, neither does the statute bar Defendants from arguing at trial that the fault of any

Defendants found liable for creating the nuisance should be determined on a proportional basis.

        B.      Ohio Common Law.

        Plaintiffs assert that under Ohio common law, where a nuisance is caused by the conduct

of multiple parties acting either independently or in concert, all are jointly and severally liable for

abating the nuisance. (Doc. #: 1890 at 22-23; Doc. #: 2540 at 9). But the authority on which

Plaintiffs rely does not support a conclusion that nuisance liability is necessarily joint and several

as a matter of law. Plaintiffs cite only weak dicta from a decision distinguishing the damages

action at issue from equitable suits, where culpable defendants are “generally” jointly liable for

abating the nuisance. See City of Columbus v. Rohr, 1907 WL 572, *2 (Ohio 1907). State ex rel.

Montgomery v. Portage Landfill & Dev. Co. is similarly unpersuasive. See 1999 WL 454623, at

*3, *6 (Ohio Ct. App. June 30, 1999) (affirming trial court’s finding that there was no right to a

jury trial of equitable claims, therefore affirming the unappealed judgment that held defendants

jointly and severally liable).

        Defendants contend that an apportionment of harm at this stage of the litigation is

premature. (Doc. #: 2163 at 12-14; Doc#: 2304 at 5-6). The Court agrees that any apportionment

decision depends on factual issues to be determined at trial, including: (1) whether the alleged

wrongful conduct by each Defendant was a substantial factor in creating the claimed nuisance;

and, (2) if so, whether the resulting harm can be ascertained on a proportional basis or is indivisible.

See Pang v. Minch, 559 N.E.2d 1313, 1323-1324 (Ohio 1990) (determining whether harm is



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capable of apportionment is “judicial function” but “it would be error to conclude, prior to trial,

that such apportionment was possible”).

          The framework articulated in Pang v. Minch, cited by Defendants, provides a useful

procedural guide:

                  where a plaintiff suffers a single injury as a result of the tortious acts
                  of multiple defendants, the burden of proof is upon the plaintiff to
                  demonstrate that the conduct of each defendant was a substantial
                  factor in producing the harm….Once this burden has been met, a
                  prima facie evidentiary foundation has been established supporting
                  joint and several judgments against the defendants. Thereafter, the
                  burden of persuasion shifts to the defendants to demonstrate that the
                  harm produced by their separate tortious acts is capable of
                  apportionment.

    559 N.E.2d 1313, 1323-1324 (Ohio 1990); see also Restatement § 433A, cmt.i (“Where two or

more causes combine to produce such a single result, incapable of division on any logical or

reasonable basis, and each is a substantial factor in bringing about the harm, the courts have refused

to make an arbitrary apportionment for its own sake, and each of the causes is charged with

responsibility for the entire harm.”).6

         Because the material questions of fact in this litigation must be resolved at trial prior to any

apportionment ruling, the Court (i) denies Plaintiffs’ motion to the extent it seeks a ruling that

public nuisance liability is joint and several as a matter of law, and (ii) denies Plaintiffs’ request

to strike Defendants’ affirmative defenses to such liability.




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   Caselaw cited by Plaintiffs accords with this reasoning. See People v. ConAgra Grocery Prod. Co., 227 Cal. Rptr.
3d 499, 557 (Ct. App. 2017), cert. denied 139 S. Ct. 377 (2018) (“Since defendants failed to show that the public
nuisance was divisible, we uphold the trial court’s imposition of joint and several liability for the nuisance created by
defendants’ conduct.”); Schindler v. Standard Oil Co., 143 N.E.2d 133, 134 (Ohio 1957) (where the acts of multiple
persons combine to create a public nuisance and it is “impossible to measure or ascertain the amount of damage created
by any one of the persons, such persons, as jointly and severally liable, may be joined as defendants”). (Doc. #: 1890
at 23).

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III.     Conclusion.

         Based on the foregoing, the Motion of Plaintiffs Cuyahoga and Summit Counties for Partial

Summary Adjudication of their Equitable Claims for Abatement of an Absolute Public Nuisance,

(Doc. #: 1890), is DENIED.

                IT IS SO ORDERED.



                                                 /s/ Dan Aaron Polster September 4, 2019
                                                 DAN AARON POLSTER
                                                 UNITED STATES DISTRICT JUDGE




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